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                              EXHIBIT B
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                                                                            United States Department of State


                                                                            Bureau of      MilitaQt              Affairs

                                                                            Directorate    of Defense    Trade     Controls



                                                                              Washington          205220112




    TO     WHOM             IT       MAY CONCERN

                This       is   to   certify     that      Robert        Kovac Managing              Director



    Directorate            of Defense            Trade     Controls Bureau           of PoliticalMilitary Affairs



    United       States Department                      of State   am   responsible        for the administration                of



    section      38 of the            Arms       Export Control         Act    as    amended      22      USC              2778

    as   it   relates      to    the manufacture             brokering temporary import export                           and



    transfer of defense                 articles        and defense     services      and exercise         the Presidents



    authority         to    control such activities                pursuant     to   authority    delegated         to     the




    Secretary           of State through section                   1l1        of Executive Order 11958                     42 FR

    4311         as   amended


                  further certify that                  in the administration         of section     38 of the        Arms


    Export       Control             Act   as    amended       and the International           Traffic in        Arms


     Regulations            ITAR            22     CFR Parts            120130        issued pursuant            thereto         the



     items      identified           below       are    defmed by     the   ITAR      as   defense      articles    of



     nature      described            on   the   US       Munitions      List   USML 22 CFR Part                           121    as




     shown




                                                                                                                           DDTC
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                        United States of America




                                                   DEPARTMENT OF STATE
                   To          all to         whom         these presents shall                                  come           Greetings


       Certify That Robert                     Kovac whose name                     is   subscribed   to   the document          hereunto       annexed            was

 at the time of subscribing                   the same    Managing               Director     Directorate        of Defense      Trade Controls Bureau

 of PoliticalMilitary Affairs                    Department             of State         United States of America and                   that   il faith       and

 credit    are due to      his   acts    as such




                                               In testimony        whereof                Hillary   Rodham        Clinton Secretary             of   State     have
                                               hereunto    caused the             seal     of the Department           of State    to     be affixed         and   my
                                               name      subscribed            by    the    Assistant      Authentication          Officer        of the       said

                                               Department          at    the     city     of Washington          in    the   District     of Columbia              this

                                               eleventh    day of December                   2009




                                                                                                                                           Secretary     of State




                                                                                                                                 Au4entication           Officer
Issued pursuant

Sept       1789
USC 2657 5Ch 2651a
                   to

                        Stat
                                 State

                                6869
                                         of
                                         22

                                       USC
                                                                                                                        arj                of State


301 28 usc 1733 et seq                 Usc
                  44    Federal Rules     of

il Procedure

                          This   certificate      is   not valid    if it   is    removed or altered        in   any   way whatsoever



                                                                                                                                                     DDTC000245
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                  762    39   mn Ball   Ammunition     is   an   article   covered by

                  Category 111a   on    the   USMIL

                  762    39   mm Tracer       Ammunition    is   an   article   covered   by
                  Category 111a   on    the   USMIL

                  762    54   mm Ball   Ammunition     is   an   article   covered    by
                  Category 111a   on the      USMIL   and



                  762    54   mm Tracer       Ammunition    is   an   article   covered   by
                  Category 111a   on the      USMIL




                                                  Managing        Director

                                        Directorate   of Defense        Trade     Controls




     Department   of State




                                                                                             DDTC
